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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                               HUNTINGTON DIVISION

MARTHA BLENKO,
LAURA MULLARKY, and
JANE DOE, individually
and on behalf of all others similarly situated,

       Plaintiffs,

v.                                              CIVIL ACTION NO. 3:21-cv-00315
                                                Honorable Judge Robert C. Chambers

CABELL HUNTINGTON HOSPITAL, INC.,

       Defendant.

        JOINT MOTION TO CERTIFY CLASS FOR SETTLEMENT PURPOSES
             AND TO APPROVE CLASS SETTLEMENT AND NOTICE

       NOW COME Plaintiffs, Martha “Marty” Blenko, Laura Mullarky, and Jane Doe, and

Defendant Cabell Huntington Hospital, Inc., by and through counsel, and pursuant to Rules 23 and

54(d)(2) and MOVE this Honorable Court to certify this proceeding as a class action against

Defendant Cabell Huntington Hospital, Inc. for settlement purposes and to approve the settlement

as set forth in the Mediation Agreement. (Ex. 1, 2.) The substantial grounds upon which this motion

is based are set forth in the supporting memorandum of law.

       1.        Plaintiffs moves this Court to certify a class defined as follows:

       211 non-union retirees from Cabell Huntington Hospital, Inc. who received
       notification in 2021 of a curtailment or termination in their retiree healthcare
       benefits.

       2.        Defendant served as the plan administrator for the Plaintiffs’ retirement welfare

benefits plan.



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         3.    The Parties agreed to settle this matter pursuant to Rule 23(b)(3) of the Federal

Rules of Civil Procedure regarding Plaintiffs’ allegations that Defendant’s agents made material

misrepresentations in substantially the same form to all Affected Individuals, indicating that the

Hospital would provide cost-free retiree health insurance for Pre-65 retirees, and Medicare

supplemental benefits thereafter throughout the lives of retirees. Defendant denies the allegations

but nonetheless agrees to this class action settlement.

         WHEREFORE, Plaintiffs and Defendant move this Honorable Court pursuant to Rule

23 to:

         (A)   Conditionally certify a class of 211 non-union retirees from Cabell Huntington

Hospital, Inc. who received notification in 2021 of a curtailment or termination in their retiree

healthcare benefits.

         (B)   Order notice to proposed Class Members.

         (C)   Schedule a fairness hearing to review the terms of the settlement.

         (D)   Authorize Plaintiffs’ counsel to issue notice to the class regarding the proposed

               settlement and fairness hearing.



                                                      Respectfully Submitted,
                                                      MARTHA BLENKO and
                                                      LAURA MULLARKY, individually
                                                      and on behalf of all others similarly
                                                      situated,
                                                      By counsel:

__/s/ Samuel B. Petsonk_________________
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Reviewed by:

Cabell Huntington Hospital, Inc.
By counsel,

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